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 7    Attorneys for Plaintiff KRISTOPHER R. REVELES
 8
                         UNITED STATES DISTRICT COURT
 9

10                     CENTRAL DISTRICT OF CALIFORNIA
11
      KRISTOPHER R. REVELES, an                 )   Case No. 2:17-cv-01066
12
      individual,                               )
13                                              )   FIRST AMENDED
                                                    COMPLAINT FOR DAMAGES
14
                               Plaintiff,       )
                                                )   1. 42 U.S.C. § 1983 (4th and
15                       vs.                    )   14th Amendments -Excessive Use
                                                    of Force)
16    COUNTY OF VENTURA; VENTURA                )
      COUNTY SHERIFF'S OFFICE;                  )   2. 42 U.S.C. § 1983 Claims –
17                                                  Municipal Defendant Liability
      VENTURA COUNTY SHERIFF GEOFF              )
18    DEAN, in his individual capacity;         )
                                                    DEMAND FOR JURY TRIAL
19
      DEPUTY JASON FULLER; DEPUTY               )
      AMBER VOORHEES; DEPUTY                    )
20    MICHAEL SCHULTZ; and DOES 1               )
21    through 10, inclusive,                    )
                                                )
22
                                                )
23
                     Defendants.                )
24    __________________________________        )
 _
25
 _
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           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                     INTRODUCTION
 2    1.    This is a complaint for money damages by Plaintiff, arising under 42 U.S.C.
 3    §§ 1983 and 1988. Plaintiff seeks redress for deprivation of his rights, privileges
 4    and immunities, secured by the Fourth and Fourteenth Amendments to the United
 5
      States Constitution. This action arises out of an incident on February 13, 2015 in
 6
      which the individual Defendant police officers detained, arrested, handcuffed, and
 7
      then used excessive force against Plaintiff while he was in the throes of an
 8
      epileptic seizure and unable to communicate clearly. After he was handcuffed,
 9
      Plaintiff was tasered twice and had a rip hobble applied to his feet while he was
10
      lying face down on the ground with a police officer straddling him and holding
11
      him down.
12
      2.    This First Amended Complaint (“FAC”) does not include the Ventura
13
      County Sheriff’s Office as a named defendant and names VENTURA COUNTY
14
      SHERIFF GEOFF DEAN (“DEAN”) in his official capacity only. All further
15
      references to DEAN throughout this FAC are to DEAN in his official capacity
16
      only. The prayer for declaratory and injunctive relief set forth in paragraph 4 of the
17
      Prayer for Relief has also been amended to identify the requested relief with more
18
      specificity.
19
                                JURISDICTION AND VENUE
20
      3.    Subject matter jurisdiction for this action is conferred upon this Court
21
      pursuant to 28 U.S.C. §§1331 and 1343, as it arises under 42 U.S.C. §1983.
22
      4.    The acts complained of arose in the Central District of California.
23
      Therefore, venue properly lies here pursuant to 28 U.S.C. § 1391. Venue in this
24
      Court is also proper pursuant to 28 U.S.C. §1391(b)(1), in that one or more
25
      Defendants resides in, or has its principal place of business in, the Central District
26
      of California.
27
      ///
28
                                                 2

            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1                                         PARTIES
 2    5.    Plaintiff KRISTOPHER R. REVELES (“REVELES”), at all relevant times,
 3    was, and is, a resident of Thousand Oaks, Ventura County, California.
 4    6.    At all times material herein, Defendant COUNTY OF VENTURA,
 5
      (“COUNTY”) was, and is, a public entity authorized by law to establish certain
 6
      departments, responsible for enforcing the laws and protecting the welfare of the
 7
      citizens of the COUNTY.
 8
      7.    Ventura County Sheriff’s Office ("VCSO") is not being named as a
 9
      defendant in this FAC. However, all of the individual defendants are either
10
      supervisors, policy makers, or employees of VCSO. VCSO was, and is, a
11
      department of Defendant COUNTY responsible for providing law enforcement and
12
      detention services for Defendant COUNTY, including the VCSO Patrol Services
13
      Division in the City of Westlake Village, California. All deputies employed by
14
      VCSO are employees of Defendant COUNTY.
15
      8.    At all times material herein, Defendant COUNTY was, and is, ultimately
16
      responsible for overseeing the operation, management, supervision and training of
17
      the employees who provide law enforcement services in Westlake Village,
18
      California, and is liable for the negligent and reckless acts of all employees,
19
      personnel, and entities, including, but not limited to, Defendants JASON FULLER,
20
      AMBER VOORHEES, and MICHAEL SCHULTZ, as well as other personnel
21
      employed at the Ventura County Sheriff’s Office, as described herein.
22
      9.    At all times material herein, Defendant VENTURA COUNTY SHERIFF
23
      GEOFF DEAN (“DEAN”), was the Sheriff of VCSO, and was responsible for the
24
      training, management, supervision, and discipline of all VCSO employees and
25
      agents and was further responsible for making, forming and maintaining the
26
      policies, practices customs, and procedures used at VCSO by all VCSO employees
27
      and agents. He is being sued in his official capacity only.
28
                                                 3

           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    10.   At all times material herein, Defendant JASON FULLER (“FULLER”) was,
 2    and is, a natural person, residing in the Central District of California and acting as
 3    a duly appointed patrol deputy, under color of law, employed by Defendants
 4    COUNTY and VCSO which is located in the Central District of California.
 5
      11.   At all times material herein, Defendant AMBER VOORHEES
 6
      (“VOORHEES”) was, and is, a natural person, residing in the Central District of
 7
      California and was acting as a duly appointed patrol deputy, under color of law,
 8
      employed by Defendants COUNTY and VCSO which is located in the Central
 9
      District of California.
10
      12.   At all times material herein, Defendant MICHAEL SCHULTZ
11
      (“SCHULTZ”) was, and is, a natural person, residing in the Central District of
12
      California and was acting as a duly appointed patrol deputy, under color of law,
13
      employed by Defendants COUNTY and VCSO which is located in the Central
14
      District of California.
15
      13.   Upon information and belief, Defendants DOES 1-10 were each responsible
16
      in some manner for the injuries and damages alleged herein. The true names and
17
      identities of Defendants DOES 1-10 are presently unknown to Plaintiff. At all
18
      relevant times herein Defendants DOES 1-10 were employees and/or agents of
19
      COUNTY and/or VCSO. Defendant DOES 1-10 include, inter alia, COUNTY
20
      and/or VCSO deputies or supervising employees and/or agents who were involved
21
      in any manner in the incidents and legal claims for relief alleged in this Complaint.
22
      Plaintiff will amend this Complaint to allege their true names and capacities when
23
      they are ascertained. Plaintiff is informed, believes, and based thereon alleges that
24
      each Defendant DOE herein is in some manner responsible for the injuries and
25
      damages suffered by Plaintiff REVELES.
26
                                 GENERAL ALLEGATIONS
27

28
                                                 4

            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    14.    This action is brought under Title 42 U.S.C. §§1983, 1988, and the Fourth
 2    and Fourteenth Amendments of the United States Constitution, and pursuant to the
 3    general laws of the United States. Plaintiff alleges that he was assaulted, battered,
 4    tased and arrested by law enforcement deputies with excessive use of force, and
 5
      that Defendants conspired to falsify evidence, wrote police reports containing
 6
      materially false descriptions of Plaintiff’s actions, in order to prosecute him for
 7
      crimes which he did not commit, and obstruct his access to justice.
 8
      15.    Defendants FULLER, VOORHEES, and SCHULTZ are being sued in their
 9
      individual capacities. At the time of the acts complained, Defendants FULLER,
10
      VOORHEES, and SCHULTZ were duly-appointed VCSO deputies employed as
11
      such by Defendant COUNTY. At the time of the acts hereinafter complained of,
12
      Defendants FULLER, VOORHEES, and SCHULTZ acted in the course and scope
13
      of their employment and acted under color of law.
14
      16.    At all relevant times, Defendants COUNTY and DEAN were ultimately
15
      responsible for the hiring, training, supervision, and discipline of Defendants
16
      FULLER, VOORHEES, and SCHULTZ, and were responsible for violation of
17
      Plaintiff’s rights.
18
      17.    At all relevant times, each Defendant was individually and jointly engaged
19
      in tortious activity, resulting in the deprivation of Plaintiff’s constitutional rights
20
      and other harm.
21
      18.    Plaintiff is informed and believes that each Defendant sued herein was
22
      responsible in some manner for the events as hereinafter described, and
23
      proximately caused injuries and damages to Plaintiff.
24
      19.    Upon information and belief, Defendants DOES 1-10 were each responsible
25
      in some manner for the injuries and damages alleged herein.
26
                                  FACTUAL ALLEGATIONS
27

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                                                  5

            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    20.   On February 13, 2015, Plaintiff was working washing cars in the parking lot
 2    of the J.D. Powers and Associates building which is located at 2625 Townsgate
 3    Road, Westlake Village, California 91361 (Townsgate Building). Plaintiff was
 4    employed by his uncle, Danny Luna, and had washed cars in this parking lot on
 5
      numerous occasions in the past.
 6
      21.   Plaintiff has a documented medical history of suffering from focal epilepsy
 7
      which is a chronic disorder marked by repeated seizures causing a sudden loss or
 8
      change of consciousness. Plaintiff has suffered both "absence" or "petit mal"
 9
      seizures where a person's consciousness is briefly interrupted and some "atonic"
10
      seizures, where a person momentarily loses all consciousness. Symptoms of
11
      absence seizures include staring into space, and may include movements such as
12
      blinking, chewing, lip-smacking or hand gestures. (See
13
      http://www.epilepsy.com/learn/types-seizures/absence-seizures)
14
      22.   Plaintiff also suffers from a "postictal" state of confusion directly after
15
      suffering a seizure. A postictal state is an altered state of consciousness after an
16
      epileptic seizure. It usually lasts between 5 and 30 minutes, but sometimes longer
17
      in the case of larger or more severe seizures, and is characterized by drowsiness,
18
      confusion, nausea, hypertension, headache or migraine, and other disorienting
19
      symptoms.
20
      23.   Plaintiff was diagnosed with epilepsy when he was a teenager. He is
21
      currently 28 years-old. Plaintiff, like most people who suffer from epileptic
22
      seizures, recalls very little of the events associated with the seizure episode.
23
      24.   Ventura County police, fire and paramedics were well aware of Plaintiff’s
24
      epilepsy because he had had several prior seizure incidents in the years preceding
25
      this incident in which police, fire and/or paramedics responded and he was either
26
      arrested or taken to a hospital for treatment.
27

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            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    25.   At the time of the incident, Plaintiff was switching seizure medications from
 2    Phenytoin to Levetiracetam. Because of a gap in MediCal coverage, Plaintiff had
 3    not taken any medication for his seizures for several days prior to the incident.
 4    This caused Plaintiff to suffer a seizure or seizures while he was at 2625
 5
      Townsgate Road, Westlake Village, California 91361.
 6
      26.   At approximately 1:30 p.m., Plaintiff left the parking lot and went inside the
 7
      building from the entrance that abuts the 101 highway in order to go to the
 8
      bathroom. Plaintiff knew from prior experience that there was a freight elevator
 9
      that could take him to the second floor bathroom. When he got to the second floor,
10
      he realized that he was experiencing symptoms which caused him to recognize that
11
      he was about to have a seizure. When this had occurred in the past he was able to
12
      get himself to a place where he could safely experience the seizure. Plaintiff found
13
      the closest seat he could find and tried to write down a note asking for help and
14
      giving the phone number of his uncle who was outside washing cars.
15
      Unfortunately, he was unable to complete the note by the time police arrived.
16
      27.   At the time of the incident, Plaintiff was wearing a blue tank top and shorts
17
      and was unarmed. Plaintiff was approximately 184 pounds and he is 5'9".
18
      28.   One of the office occupants noticed Plaintiff sitting at an office desk where
19
      he did not belong and contacted the police for assistance with him.
20
      29.   Defendants FULLER and VOORHEES were dispatched to the Townsgate
21
      Building, with FULLER arriving first.
22
      30.   At the time, Defendant FULLER weighed 275 pounds. Plaintiff is currently
23
      unaware of FULLER'S height.
24
      31.   Defendant FULLER audio-recorded the interaction between Plaintiff and the
25
      police officers inside the Townsgate Building. Defendants FULLER and
26
      VOORHEES failed to activate their audio recording devices throughout the
27
      incident.
28
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            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    32.   Defendant FULLER first encountered Plaintiff on the second floor where he
 2    was sitting. FULLER asked Plaintiff several questions about why he was there and
 3    whether he had identification. Plaintiff was non-responsive because he was having
 4    a seizure.
 5
      33.   Defendant FULLER did not ask Plaintiff any questions related to
 6
      ascertaining whether Plaintiff was undergoing a medical incident. Defendant
 7
      FULLER assumed that Plaintiff was under the influence of drugs. Defendant
 8
      FULLER also assumed that Plaintiff was refusing to speak rather than being
 9
      physically unable to do so. Defendant FULLER failed to follow VCSD, California
10
      Police Officer Training and Standards, and Crisis Intervention Team training,
11
      standard operating procedures, orders and directives regarding mentally disturbed
12
      people or people undergoing a medical crisis.
13
      34.   Defendant FULLER was immediately and unjustifiably aggressive with
14
      Plaintiff. While Plaintiff was in a non-responsive state, Defendant FULLER stated
15
      twice to Plaintiff, "If you elect to fight us - you are going to get hurt." He then
16
      forcibly lifted Plaintiff out of the chair. Defendants FULLER and VOORHEES
17
      handcuffed Plaintiff with no resistance by Plaintiff. Defendant FULLER and
18
      VOORHEES continued to ask Plaintiff questions which he did not respond to.
19
      35.   It appears from the audio-recording, Defendant FULLER did not understand
20
      why Plaintiff was non-responsive to his questioning and completely failed to
21
      recognize that Plaintiff was in the midst of a medical emergency. FULLER also
22
      asked Plaintiff several times if he was high or on drugs.
23
      36.   After FULLER had handcuffed Plaintiff, FULLER reached into Plaintiff's
24
      pockets and found a plastic lighter. FULLER threw the lighter onto the ground.
25
      Plaintiff reached down to pick it up, and FULLER jerked him away and stated,
26
      "don't worry about that - it's garbage". Plaintiff spoke for the first time and asked
27

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            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1    FULLER to relax. FULLER told Plaintiff that he should relax and that he was not
 2    the one running the show.
 3    37.   While Defendants FULLER and VOORHEES were walking Plaintiff to the
 4    elevator to go downstairs, Plaintiff went limp. Defendant FULLER applied a pain
 5
      compliance control hold to Plaintiff, who remained handcuffed. FULLER and
 6
      VORHEES dragged him to the elevator while continuing the pain compliance
 7
      hold. The Defendants were pulling him, squeezing his arm tightly, and twisting his
 8
      handcuffed wrists.
 9
      38.   Before getting on the elevator, Defendant FULLER twisted Plaintiff's arm
10
      enough to cause Plaintiff to cry out in pain and ask FULLER to stop. Defendant
11
      FULLER asked, "Are you going to go with the program?" while twisting his arm
12
      even though Plaintiff was not resisting. Any movement by Plaintiff was clearly in
13
      response to the pain caused by FULLER's twisting his arm. Plaintiff repetitively
14
      cried out in pain while telling FULLER to stop twisting and squeezing his arm and
15
      his wrist. This caused FULLER to twist it even more while saying, "How's that
16
      working for you?"
17
      39.   When VOORHEES asked Plaintiff “what his deal was”, Plaintiff responded,
18
      "he's squeezing my wrists." Defendant VOORHEES also asked him what he had
19
      smoked that day, also erroneously assuming that Plaintiff was on drugs, rather than
20
      experiencing a medical emergency.
21
      40.   In the elevator, Defendant FULLER asked Plaintiff, "what did you smoke
22
      today?" Defendant FULLER continued to twist Plaintiff's arm. He told Plaintiff to
23
      "shut his mouth" when Plaintiff said he was not doing anything and asked
24
      FULLER to stop yelling at him. Defendant FULLER pushed Plaintiff's head into
25
      the corner of the elevator and said that he was going to throw Plaintiff to the
26
      ground in a minute. Plaintiff continued to ask FULLER to stop twisting his arm,
27
      stop pushing his head into the corner, and stop yelling at him. In response,
28
                                                9

            FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   Defendant FULLER told him to "stop being a bitch" and then started to force
 2   Plaintiff to get on the ground.
 3   41.   Soon thereafter, the elevator reached the first floor and the elevator door
 4   opened. There are two surveillance cameras in the Townsgate Building lobby
 5
     which captured the interaction between Defendants FULLER, VOORHEES and
 6
     Plaintiff as they exited the elevator into the lobby.
 7
     42.   The video shows FULLER with his hands around Plaintiff's throat. Then
 8
     Defendant FULLER drew back his right hand, made a fist and drew it close to
 9
     Plaintiff's face as if he was going to punch him. Defendant VOORHEES joined
10
     FULLER in forcing Plaintiff to the ground. During the struggle, FULLER was
11
     behind Plaintiff and holding on to him with both hands. VORHEES approached
12
     and grabbed Plaintiff in the upper torso area and pulled him to the right and
13
     towards the ground. At this time, Fuller’s legs became intertwined with Plaintiff's
14
     legs while and he fell to the ground. FULLER injured his right knee and remained
15
     on his back throughout the rest of the incident. While still at the scene, FULLER
16
     explained "when we went to the floor, my knee folded the wrong way." He stated,
17
     "it's my right knee - went out - folded back."
18
     43.   While FULLER was falling down, Defendant VOORHEES pulled Plaintiff
19
     down to the ground a few feet away from FULLER. Plaintiff landed on his back.
20
     44.   While Plaintiff was on his back and VOORHEES was kneeling over him,
21
     she was able to call for back-up and an ambulance. VOORHEES then began
22
     hitting Plaintiff and he asked her repeatedly to stop. VOORHEES then
23
     commanded Plaintiff to get on his stomach and threatened to tase him if he failed
24
     to comply. VOORHEES then flipped Plaintiff over onto his stomach. It was only
25
     after flipping Plaintiff onto his stomach that Defendant VOORHEES tased
26
     Plaintiff. She tased Plaintiff with her taser pressed to his back while she was on his
27

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           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   back. The taser probes plunged deeply into Plaintiff’s skin and high voltage
 2   electricity surged through his body.
 3   45.   One of the taser probes was so deeply embedded into plaintiff’s skin that it
 4   required a doctor to safely remove it at the hospital.
 5
     46.   After he was tasered, Plaintiff cried out in pain and begged her to stop. He
 6
     yelled, "I have seizures! Please stop, I have seizures!" Plaintiff continued to state
 7
     that he had not done anything wrong and that FULLER had been twisting his arm.
 8
     47.   While VOORHEES was still on top of Plaintiff, he complained that she was
 9
     crushing his knee and genitals. She replied, "I don't care what I'm smashing right
10
     now." Approximately three minutes after she tased him the first time, and while
11
     she was still on top of Plaintiff, VOORHEES pressed the taser button again which
12
     sent high voltage electricity through his body a second time. When Plaintiff
13
     protested being tasered again while handcuffed and on the ground, Defendant
14
     FULLER laughed.
15
     48.   At the time Defendant SCHULTZ arrived, Plaintiff was subdued and was
16
     not kicking or moving. Defendant VOORHEES was straddling Plaintiff who was
17
     face down on the ground after at least two taser full taser cycles. Nonetheless,
18
     Defendant SCHULTZ placed a rip hobble on Plaintiff's ankles which caused him
19
     additional pain and discomfort. Defendants left Plaintiff in this position for
20
     approximately 30 minutes.
21
     49.   After she took Plaintiff to Los Robles Hospital for a medical clearance,
22
     VOORHEES placed Plaintiff in the back of a squad care and interviewed him.
23
     This interview was video-recorded. During this interview, Plaintiff explained that
24
     he was suffering from a seizure or seizures when he went inside the building.
25
     VOORHEES’ comments in this interview indicate that the only type of seizure she
26
     was familiar with was grand-mal seizures with convulsions.
27

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           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   50.   Despite having knowledge that Plaintiff was suffering from seizures which
 2   explained his non-responsive and confused behavior, she arrested him on felony
 3   charges of violation of Penal Code section 69 which provides, in relevant part that:
 4   “Every person who attempts, by means of any threat or violence, to deter or
 5
     prevent an executive officer from performing any duty imposed upon such officer
 6
     by law, or who knowingly resists, by the use of force or violence, such officer, in
 7
     the performance of his duty.”
 8
     51.   On August 18, 2015, the Ventura County District Attorney’s Office charged
 9
     Plaintiff in Ventura County Case No. 2015004820 with a misdemeanor violation of
10
     Penal Code § 148(a)(1) – resisting arrest. On April 19, 2016, the complaint was
11
     amended to add a misdemeanor violation of Penal Code § 148.10(a) – resisting
12
     arrest resulting in serious bodily injury. Plaintiff pled not guilty to the complaint,
13
     and, after a series of continuances, the jury trial commenced on November 3, 2016.
14
     Plaintiff was acquitted on both counts on November 9, 2016.
15
     52.   Plaintiff is informed, believes, and based thereon alleges that Defendant
16
     COUNTY, DEAN, in his official capacity, and DOES has generally failed to: (1)
17
     ensure that VCSO deputies are adequately trained to recognize an epileptic seizure
18
     and react appropriately to a person experiencing an epileptic seizure; (2) provide
19
     continuing education to VCSO deputies to enable them to recognize an epileptic
20
     seizure and react appropriately to a person experiencing an epileptic seizure; and
21
     (3) to develop and implement minimum standards to prepare VCSO deputies to
22
     recognize an epileptic seizure and react appropriately to a person experiencing an
23
     epileptic seizure.
24
     53.   Plaintiff is informed, believes, and based thereon alleges that Defendants
25
     FULLER, VOORHEES, SCHULTZ, and DOES 1-10 were not adequately trained
26
     to recognize an epileptic seizure and react appropriately to a person experiencing
27

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           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   an epileptic seizure, and that this inadequacy in training caused Defendants to use
 2   wrongful, unnecessary, and excessive force during their interactions with Plaintiff.
 3   54.   Plaintiff suffered physical injuries as a result of Defendant FULLER,
 4   VOORHEES, and SCHULTZ'S use of force on him, including but not limited to,
 5
     wounds caused by the taser probes and bruises.
 6
     55.   Plaintiff also suffered emotional distress resulting from the incident.
 7
                                FIRST CLAIM FOR RELIEF
 8
                     Violation of Civil Rights: Excessive Use of Force
 9
                       (42 U.S.C. § 1983/4th and 14th Amendments)
10
       Against Defendants FULLER, VOORHEES, SCHULTZ, and DOES 1-10
11
     56.   Plaintiff incorporates by reference each and every allegation contained in the
12
     foregoing paragraphs, as though set forth herein verbatim.
13
     57.   Plaintiff brings this cause of action under 42 U.S.C. § 1983, as against
14
     Defendants FULLER, VOORHEES, SCHULTZ, and DOES 1-10.
15
     58.   This action arises under 42 U.S.C. §§ 1983 and 1988, the United States
16
     Constitution, and common law principles. By engaging in the conduct described
17
     hereinabove, Defendants FULLER, VOORHEES, SCHULTZ, and DOES were
18
     acting or pretending to act, under the color of state law as deputies employed by
19
     Defendant COUNTY, and violated Plaintiff REVELES’ civil rights afforded to
20
     him under the United States Constitution, including his right to be free from
21
     excessive and unreasonable force in violation of his rights protected under the
22
     Fourth and Fourteenth Amendments.
23
     59.   As a direct and proximate result of Defendants' and DOES' wrongful
24
     conduct described hereinabove, Plaintiff REVELES suffered physical and
25
     emotional injuries, including but not limited to, taser wounds, lacerations,
26
     abrasions, and scarring.
27

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                                              13

           FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
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 1   60.   Plaintiff REVELES has suffered special and general damages as allowable
 2   under federal law in an amount to be proven at trial. These injuries and damages
 3   are ongoing.
 4   61.   Plaintiff is informed, believes, and based thereon alleges that by engaging in
 5
     the conduct alleged herein, Defendants FULLER, VOORHEES, SCHULTZ, and
 6
     DOES acted with the intent to injure, vex, annoy and harass Plaintiff REVELES,
 7
     and subjected Plaintiff REVELES to cruel and unjust hardship in conscious
 8
     disregard of Plaintiff REVELES’ rights, with the intention of causing Plaintiff
 9
     REVELES injury and depriving him of his constitutional rights.
10
     62.   As a result of the foregoing, Plaintiff REVELES seeks exemplary and
11
     punitive damages against Defendants FULLER, VOORHEES, SCHULTZ, and
12
     DOES.
13
     63.   Further, as a result of the foregoing, Plaintiff REVELES seeks an award of
14
     reasonable attorneys’ fees and costs according to proof, pursuant to 42 U.S.C.
15
     §1988.
16
                              SECOND CLAIM FOR RELIEF
17
                    42 U.S.C. § 1983 Claims (Municipal Liability Claims -
18
            Deliberate Indifference and Failure to Supervise, Train and Hire)
19
                     Against Defendants COUNTY, DEAN, and DOES
20
     64.   Plaintiff incorporates by reference each and every allegation contained in the
21
     foregoing paragraphs, as though set forth herein verbatim.
22
     65.   Plaintiff brings this cause of action under 42 U.S.C. § 1983, as against
23
     Defendants COUNTY, DEAN, in his official capacity, and DOES.
24
     66.   Defendants FULLER, VOORHEES, and SCHULTZ's violations of Plaintiff
25
     REVELES’ Fourth and Fourteenth Amendment rights to be free from excessive
26
     use of force, unlawful seizure, and deprivation of liberty, as set forth herein, were
27
     the direct and proximate results of Defendants COUNTY, DEAN, and DOES'
28
                                               14

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 1   maintaining longstanding customs, policies, practices and/or procedures which
 2   tolerate and condone Defendants FULLER, VOORHEES, and SCHULTZ's
 3   violations, as set forth herein.
 4   67.   These longstanding customs, policies, practices and/or procedures, include,
 5
     but are not limited to, Defendants COUNTY, DEAN, and DOES' standard
 6
     operating procedures as well as accepted practices.
 7
     68.   Said customs, policies, practices and/or procedures include, inter alia: an
 8
     ongoing pattern of condoning and having a deliberate indifference towards
 9
     citizens’ constitutional rights in connection with the following acts committed by
10
     VCSO deputies: (1) the use of excessive force or violence in a reckless and
11
     unreasonable manner; (2) unconstitutional seizures and deprivations of liberty; (3)
12
     the conforming of false testimony, evidence or reports by all deputies involved in
13
     an incident to protect one or more of them from criminal prosecution or
14
     administrative discipline and/or to allow for malicious prosecution; (4) the
15
     performance of sham or deficient investigations of allegations of deputy
16
     misconduct designed to allow deputies’ misconduct to escape detection by
17
     superiors and/or superiors who guide or shape the investigation to support a result
18
     exonerating the involved deputies; (5) the planting of evidence or withholding
19
     evidence to favor the involved deputies’ version of a disputed and complained of
20
     incident of police misconduct; (6) the ratification of misconduct to avoid referral
21
     for criminal prosecution; and (7) the public denial or minimization of rampant
22
     problems of dishonesty and brutality within VCSO.
23
     69.   The policy-makers for the deputies of Defendant VCSO at the time of the
24
     incident were Defendant DEAN and DOES. As such, they had the duty to make
25
     and maintain customs, policies, practices and/or procedures which address and
26
     cure the problems of use of excessive force and other civil rights violations
27
     committed by VCSO deputies in general. Rather than creating or maintaining such
28
                                              15

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 1   customs, policies, practices and/or procedures, Defendant DEAN and DOES
 2   created and maintained policies and practices which caused a deliberate
 3   indifference toward Plaintiff REVELES' constitutional rights as well as citizens’
 4   constitutional rights in general and caused harm to Plaintiff REVELES by
 5
     condoning deputy commissions of violations including excessive use of force,
 6
     unreasonable seizure and the deprivation of liberty.
 7
     70.   The above described customs, policies, practices and/or procedures
 8
     demonstrate a deliberate indifference on the part of the policy-makers of Defendant
 9
     COUNTY to the constitutional rights of persons within COUNTY, and were a
10
     moving force behind the violations of Plaintiff REVELES’ rights alleged herein.
11
     71.   Plaintiff is informed, believes, and based thereon alleges that Defendants
12
     COUNTY, DEAN, and DOES knew, or in the exercise of reasonable care should
13
     have known prior to February 13, 2015, that VCSO deputies, including Defendants
14
     FULLER, VOORHEES, SCHULTZ, and DOES, were engaging in the conduct
15
     described hereinabove.
16
     72.   Plaintiff is informed, believes, and based thereon alleges that Defendants
17
     COUNTY, DEAN, and DOES knew, or in the exercise of reasonable care should
18
     have known, prior to February 13, 2015, that VCSO deputies, including
19
     Defendants FULLER, VOORHEES, SCHULTZ, and DOES, had a history,
20
     propensity, pattern and practice of adhering to the unlawful and unconstitutional
21
     police actions described herein and above.
22
     73.   Notwithstanding this information and the history of VCSO deputies
23
     including Defendants FULLER, VOORHEES, SCHULTZ, and DOES, Plaintiff is
24
     informed, believes and based thereon alleges that Defendants COUNTY, DEAN,
25
     and DOES failed to properly screen applicants and hired persons who were
26
     psychologically unfit for duty and used unreasonable police tactics, which led to
27

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                                              16

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 1   the constitutional violations of Plaintiff REVELES’ constitutional rights as alleged
 2   herein and above.
 3   74.   Plaintiff is informed, believes, and based thereon alleges that Defendants
 4   COUNTY, DEAN, and DOES generally failed to train and supervise VCSO
 5
     deputies, including Defendants FULLER, VOORHEES, and SCHULTZ and
 6
     DOES, in order to halt and prevent the type of conduct which resulted in violating
 7
     Plaintiff REVELES’ constitutional rights.
 8
     75.   Plaintiff is informed, believes, and based thereon alleges that Defendants
 9
     COUNTY, DEAN, and DOES has generally failed to: (1) ensure that VCSO
10
     deputies are adequately trained to recognize an epileptic seizure and react
11
     appropriately to a person experiencing an epileptic seizure; (2) provide continuing
12
     education to VCSO deputies to enable them to recognize an epileptic seizure and
13
     react appropriately to a person experiencing an epileptic seizure; and (3) to develop
14
     and implement minimum standards to prepare VCSO deputies to recognize an
15
     epileptic seizure and react appropriately to a person experiencing an epileptic
16
     seizure, and that these failures were a moving force behind the violations of
17
     Plaintiff REVELES’ rights alleged herein.
18
     76.   Plaintiff is informed, believes, and based thereon alleges that Defendants
19
     COUNTY, DEAN, and DOES have customs, policies or practices which condone
20
     and/or ignore misconduct of VCSO deputies and fail to impose discipline. As a
21
     result, the custom, practice or policy results in the retention of deputies such as
22
     Defendants FULLER, VOORHEES, SCHULTZ, and DOES who have a
23
     propensity to cause constitutional violations such as use of excessive force,
24
     unreasonable seizure, liberty deprivations and falsification of evidence. This
25
     failure to discipline condones, ratifies, promotes and perpetuates VCSO deputies’
26
     misconduct and their “code of silence” and was a moving force behind the
27
     violations of Plaintiff REVELES’ constitutional rights.
28
                                               17

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 1   77.   Plaintiff is informed, believes, and based thereon alleges that Defendants
 2   COUNTY, DEAN, and DOES expressly or tacitly encouraged, ratified, and/or
 3   approved of the acts and/or omissions alleged herein, and knew that such conduct
 4   was unjustified and would result in violations of Plaintiff REVELES’
 5
     constitutional rights.
 6
     78.   As a result of the foregoing, Plaintiff REVELES was subjected to physical
 7
     and emotional injuries that were a direct and proximate result of Defendants
 8
     COUNTY, DEAN, and DOES' failure to maintain customs, policies, practices or
 9
     procedures designed to protect the constitutional rights of the public.
10
     79.   Defendants COUNTY, DEAN, and DOES expressly or tacitly encouraged,
11
     ratified, and/or approved of the acts and/or omissions of the Defendant deputies
12
     alleged herein, and knew that such conduct was unjustified and would result in
13
     violations of Plaintiff REVELES’ constitutional rights.
14
                                  PRAYER FOR RELIEF
15
           Wherefore, Plaintiff prays for judgment against Defendants, and each of
16
     them, on each and every cause of action as follows:
17
     1.    For general damages according to proof at trial;
18
     2.    For special damages according to proof at trial;
19
     3.    For an award of punitive damages against Defendants FULLER,
20
     VOORHEES, SCHULTZ, and DOES;
21
     4.    For declaratory and injunctive relief, specifically including but not limited
22
     to, requiring Defendants COUNTY and DEAN to (1) ensure that VCSO deputies
23
     are adequately trained to recognize an epileptic seizure and react appropriately to a
24
     person experiencing an epileptic seizure; (2) provide continuing education to
25
     VCSO deputies to enable them to recognize an epileptic seizure and react
26
     appropriately to a person experiencing an epileptic seizure; and (3) to develop and
27

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                                               18

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 1   implement minimum standards to prepare VCSO deputies to recognize an epileptic
 2   seizure and react appropriately to a person experiencing an epileptic seizure.
 3   5.    For attorney’s fees and costs under 42 U.S.C. § 1988, or under any other
 4   applicable statutes or law;
 5
     6.    For an award of Plaintiff’s costs of suit incurred herein;
 6
     7.    For an award of any applicable statutory penalties;
 7
     8.    For an award of any applicable interest amounts; and
 8
     9.    For any other relief the Court deems appropriate.
 9
           Respectfully submitted,
10
     Dated: April 24, 2017           LAW OFFICES OF BRIAN A. VOGEL, PC
11

12

13                                   By:             /s/
14                                   BRIAN A. VOGEL
                                     Attorney for Plaintiff
15
                                     KRISTOPHER R. REVELES
16

17

18                             DEMAND FOR JURY TRIAL
19
           Plaintiff hereby demands a jury trial.
20

21   Dated: April 24, 2017           LAW OFFICES OF BRIAN A. VOGEL, PC
22

23                                   By:             /s/
24                                   BRIAN A. VOGEL
                                     Attorney for Plaintiff
25
                                     KRISTOPHER R. REVELES
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          FIRST AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL
